                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )           No. 3:12-00055
                                                   )           JUDGE CAMPBELL
TIMOTHY WAYNE HEDGE                                )
JAMES BENJAMIN LEE                                 )

                                               ORDER

         Pending before the Court are the United States’ Motion For Permission To Contact Jurors

(Docket No. 82), Defendant Lee’s Objection To Government’s Motion For Permission To

Contact Jurors (Docket No. 83), and Defendant Hedge’s Motion for Permission to Contact Jurors

(Docket No. 84). Through the Motions, the Government and Defendant Hedge seek to contact

the jurors who served during the trial of this case that resulted in a mistrial based on a hung jury

in order to assist them in preparing for the retrial. Defendant Lee opposes the requests on public

policy grounds including the interest in protecting jurors from unwarranted intrusions, and the

finality of jury determinations.

         Local Rule 39.01(f)(2) prohibits post-verdict interrogation of jurors without the prior

approval of the Court. Restrictions on post-verdict juror interrogation are based on the public

policy interests of encouraging frank discussions during deliberations, discouraging harassment

of those engaging in jury service, and promoting finality. Tanner v. United States, 483 U.S. 107,

107 S.Ct. 2739, 97 L.Ed.2d 90 (1987).

         As applied in this case, the Court concludes that the interest of the parties in improving

their ability to prepare for the retrial is outweighed by the public policy interests described

above. The Court notes that the parties are already aware of the split in the vote of the jury




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because, at the conclusion of the trial, the Court asked the Foreperson to disclose that

information. In addition, one of the jurors has expressed concern about being contacted about her

jury service. For the reasons, the Motions are DENIED.

       It is so ORDERED.



                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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